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                                                                               10 DISTRICT
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                                                                           NORTIIERN DISTRICT OF TEXAS
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                       IN THE UNITED STATES DISTRICT OURT
                            NORTHERN DISTRICT OF TEXA                             .JIJN 2 8 ?019
                                FORT WORTH DIVISION
                                                                            CLERK, U.S. DISTRICT COURT

AMERICAN AIRLINES, INC.,                          §                           By·--..,.......,.----
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                                                  §
               Plaintiff,                         §
                                                  §
vs.                                               §   NO. 4:19-CV-414-A
                                                  §
TRANSPORT WORKERS UNION OF                        §
AMERICA, AFL-CIO, ET AL.,                         §
                                                  §
               Defendants.                        §


                                    MEMORANDUM OPINION

        Consistent with the instructions given to the parties at the

recent pretrial conference, each side has filed a memorandum in

support of its position on contested issues of law numbers 2, 3,

4, and 5 under the heading "Agreed List of Contested Issues of

Law" in the Joint Pre-Trial Order the parties submitted to the

court.      Doc. 75. 1       Those issues read as follows:

             2.   Whether the requirements of Section[] 6 of
        the Norris LaGuardia Act apply to Plaintiff's claim
        against Defendants?

            3.    How the requirements of Section 8 of the
       Norris LaGuardia Act apply to Plaintiff's claim against
       Defendants? Specifically, does it require Plaintiff to
       attempt to make reasonable efforts to settle the
       dispute regarding the formulation of a joint collective
       bargaining agreement or the dispute regarding the
       alleged slowdown?

            4.   Whether Defendants have a legal obligation
       under Section 2, First of the [Railway Labor Act


        'The "Doc._" references are to the numbers assigned to the referenced items on the docket in
this Case No. 4:19-CV-414-A.
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     ("RLA")] to take all reasonable measures to stop
     concerted activity by their members if Defendants have
     not participated, authorized or ratified it?

          5.   Whether Plaintiff is required to demonstrate
     that injunctive relief is the only practical and
     effective means of enforcing the Defendants'
     obligations under Section 2, First of the RLA?

Id. at 19-20.

     The court has reached the following conclusions as to the

proper answers to those legal issues:

Legal Issue No. 2 ("Whether the requirements of Section[] 6 of
the Norris LaGuardia Act apply to Plaintiff's claim against
Defendants?" l :

          Section 6 of the Norris LaGuardia Act          ("NLGA")
     provides:

           No officer or member of any association or
           organization, and no association or
           organization participating or interested in a
           labor dispute, shall be held responsible or
           liable in any court of the United States for
           the unlawful acts of individual officers,
           members, or agents, except upon clear proof
           of actual participation in, or actual
           authorization of, such acts, or of
           ratification of such acts after actual
           knowledge thereof.

Doc. 91 at 1.

     While other courts might have reached contrary results, the

Fifth Circuit in 1936 stated the following in its opinion in Mayo

v. Dean, 82 F.2d 554, 556 (5th Cir. 1936):

     The contention that the injunction should not run against
     [the president and secretary of the union local whose
     members were acting in concert to prevent the unloading of a

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     barge] is based on the provisions of section 6 of the act,
     29 U.S.C.A. § 106. Again conceding, purely for the purpose
     of argument, that the act applies, the provision of the
     section is that no officer or member of any association
     participating or interested in a labor dispute shall be held
     responsible or liable in any court of the United States for
     the unlawful acts of any individual or officer, member or
     agent of the association except upon clear proof of actual
     participation in or actual authorization of such act or
     ratification of such act after actual knowledge thereof.
     This might prevent punishment for contempt or the recovery
     of damages, but clearly was not intended to apply to the
     issuance of an iniunction to prevent future acts of coercion
     in a case where such relief would be proper.

Id. at 556   [emphasis added] .

     The court has been unable to find any Fifth Circuit decision

that would cause Mayo no longer to be the law of the Fifth

Circuit that this court is bound to apply, nor has the court seen

any United States Supreme Court decision that would override the

underlined language in the above-worded segment of the Mayo

opinion.

     The only Supreme Court decision the court is aware of that

bears on Issue No. 2 is United Brotherhood of Carpenters v.

united States, 330 u.s. 395, 403         (1947), in which the Supreme

Court noted the following:

          Section 6 of the bill relates to damages for
     unlawful acts arising out of labor disputes.  It is
     provided that officers and members of any labor
     organization, and officers and members of any
     employers' organization shall not be held liable for
     damages unless it is proven that the defendant either
     participated in or authorized such unlawful acts, or



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        ratified such unlawful acts after actual knowledge
        thereof.

Id. n.11.

        The Fifth Circuit does not stand alone in its interpretation

of section 6.     In Charles D. Bonanno Linen Service, Inc. v.

McCarthy, 532 F.2d 189 (1st Cir. 1976), the First Circuit held

that section 6 "applies only [by its own terms] to liability for

damages or criminal responsibility."        Id. at 191.     In Suffolk

Construction Co. v. Local 67, 736 F. Supp. 1179, 1182 (D. Mass.

1990), the district court of the District of Massachusetts,

citing as authority the Charles D. Bonanno Linen Service case,

said:

        Contrary to the defendants' assertions, the prohibition
        of § 6 of the Norris-LaGuardia Act, 29 U.S.C. § 106,
        does not apply to injunctions but only to claims for
        damages. Charles D. Bonanno Linen Service, Inc. v.
        McCarthy, 532 F.2d 189, 191 (1st Cir. 1976).

Id. at 1182.

        For the reasons stated above, the court considers that the

Fifth Circuit has left it no choice but to conclude that section

6 of the NLGA is not applicable to the request of plaintiff,

American Airlines, Inc., for injunctive relief.

Legal Issue No. 3 ("How the requirements of Section 8 of the
Norris LaGuardia Act apply to Plaintiff's claim against
Defendants? Specifically, does it require Plaintiff to attempt
to make reasonable efforts to settle the dispute regarding the



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formulation of a joint collective bargaining agreement or the
dispute regarding the alleged slowdown?"):

     Section 8 of the NLGA provides:

          No restraining order or injunctive relief
          shall be granted to any complainant who has
          failed to comply with any obligation imposed
          by law which is involved in the labor dispute
          in question, or who has failed to make every
          reasonable effort to settle such dispute
          either by negotiation or with the aid of any
          available governmental machinery of mediation
          or voluntary arbitration.

Doc. 91 at 3.

     The court concludes that section 8 of the NLGA does not

require plaintiff to attempt to resolve the slowdown that

prompted plaintiff to file this action.        Pertinent to this

question is the following language used by the Seventh Circuit in

United Air Lines, Inc. v. International Association of Machinist,

243 F. 3d 349, 363 (7th Cir. 2001):

     IAM cites no authority (nor have we found any) for the
     proposition that a district court must deny a
     preliminary injunction against a recognized violation
     of a specific provision of the RLA by union members if
     it determines that the employer could "more
     effectively" curb the violation by directly
     disciplining or terminating individual employees.
     Indeed, such a suggestion runs counter to the spirit of
     the RLA's status quo provisions.  As noted, those
     provisions impose an affirmative legal duty upon both
     employers and unions alike--which is enforceable by the
     courts--to preserve the status quo during the
     bargaining and mediation process imposed by the RLA.   A
     union has the affirmative duty under the status quo
     provisions of the RLA to exert every reasonable effort
     to prevent or discourage a strike or a concerted work

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     action like the slowdown in this case.  See, ~.
     Delta Air Lines, 238 F.3d at 1308-10; see generally
     Shore Line, 396 U.S. at 152-53, 90 S. Ct. 294.   Once a
     court determines that such a concerted work action is
     occurring in violation of the RLA, an injunction can
     issue ordering the union to observe its statutory duty
     by trying to stop it.  See, ~. Delta, 238 F.3d at
     1308-10. Whether United can diminish or even stop the
     work slowdown through its own actions has nothing to do
     with the IAM's enforceable duty to do everything
     reasonable to end it.

Id. at 363.    And, at a later point in the opinion:

          Moreover, it seems clear in this case that an
     injunction would be the "sole, effective means" of
     enforcing the IAM's duties under the status quo
     provisions of the RLA.   The district court concluded
     that a number of United mechanics were engaging in a
     deliberate and unlawful slowdown (or that a number of
     mechanics were "doing] job actions which are not
     proper" and acting "in concert" or in a "mob
     mentality").   This unilateral resort to self-help on
     the part of union members puts severe economic
     pressures on United, thereby undermining its bargaining
     position during the period of negotiation and
     mediation.   This is precisely the kind of action that
     the RLA status quo provisions seek to prevent, and we
     cannot conclude that other remedies, short of an
     injunction, would be effective in doing so.

Id. at 365.

     The court concludes that section 8 of the NLGA does not

require plaintiff to make reasonable efforts to resolve the

dispute regarding the alleged slowdown.        See Atlas Air, Inc. v.

International Brotherhood of Teamsters, 280 F. Supp. 3d 59, 85

(D. D.C. 2017).

Legal Issue No. 4 ("Whether Defendants have a legal obligation
under Section 2, First of the [Railway Labor Act ("RLA"l] to take

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all reasonable measures to stop concerted activity by their
members if Defendants have not participated, authorized or
ratified it?"):

     Section 2, First of the RLA provides:

     It shall be the duty of all carriers, their officers,
     agents, and employees to exert every reasonable effort
     to make and maintain agreements concerning rates of
     pay, rules, and working conditions . . . in order to
     avoid any interruption to commerce or to the operation
     of any carrier growing out of any dispute between the
     carrier and the employees thereof.

45 u.s.c.    §   152, First.

     That section imposes on unions an affirmative duty to take

"every reasonable effort" to end their members' unlawful

concerted activities. Delta Air Lines, Inc. v. Air Line Pilots

Ass'n, Int'l, 238 F. 3d 1300, 1310        (11th Cir. 2001); United Air

Lines, Inc. v. Int'l Ass'n of Machinist & Aerospace Workers, 243

F. 3d 349, 363     (7th Cir. 2001)   ("United v. IAM"). A union bears

that duty even if it did not participate in, authorize, or ratify

its members' conduct. Delta, 238 F.3d at 1309-10 & n.22; US

Airways,    Inc. v. U.S. Airline Pilots Ass'n, 813 F. Supp. 2d 710,

731 (W.D.N.C. 2011); United Air Lines, Inc. v. Air Line Pilots

Ass'n,   Int'l, No. 08-CV-4317, 2008 WL 4936847, at *36 (N.D. Ill.

Nov. 17, 2008).




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     Defendants cited Section 6 of the NLGA, 29 U.S.C.           §   106, in

support of their position. That provision provides:

     No officer or member of any association or
     organization, and no association or organization
     participating or interested in a labor dispute, shall
     be held responsible or liable in any court of the
     United States for the unlawful acts of individual
     officers, members, or agents, except upon clear proof
     of actual participation in, or actual authorization of,
     such acts, or of ratification of such acts after actual
     knowledge thereof.

     Defendants argued that this provision supports their

conclusion that a court cannot enjoin union members' concerted

activity if the union did not participate in, authorize, or

ratify the activity. Doc. 89 at 15. As stated above, however, the

Fifth Circuit is committed to the proposition that Section 6 of

the NLGA does not apply to actions for injunctive relief.

     Even if it did, it would not bar the injunction plaintiff

requests. An injunction requiring a union to take every

reasonable effort to stop its members' conduct made unlawful by

Section 2, First of the RLA would not hold it responsible for its

members' conduct, but for its own failure to carry out its

independent duty to try to stop their conduct. Moreover, the NLGA

and RLA must be read together so that each statute's purpose is

preserved. Bhd. of R.R. Trainmen v. Chicago River & Ind. R.R.

Co., 353 U.S. 30, 40    (1957). The RLA's purpose is to "bring about

stable relationships between labor and management," whereas the

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NLGA's purpose is to "protect working men in the exercise of

organized, economic power, which is vital to collective

bargaining." Id. An injunction requiring defendants to try to end

members' conduct made unlawful by Section 2, First of the RLA

would not impair their ability to engage in lawful collective

bargaining, but it would help stabilize relations between

plaintiff and defendants and end any disruption to commerce

caused by that conduct. Thus, such an injunction would promote

the RLA's purpose without impairing that of the NLGA.

     Defendants cited United v. IAM in support of their

contention that they have no duty to take every reasonable effort

to stop their members' concerted activity if they have not

participated in, authorized, or ratified it, presumably because

that case applied Section 6 of the NLGA. But, the court in United

v. IAM only assumed without deciding that Section 6 of the NLGA

applies to claims for injunctive relief. United Air Lines. Inc.

v. Air Line Pilots Ass'n. Int'l, 563 F.3d 257, 271 (7th Cir.

2009). As stated, it does not, and even if it did, it would not

bar the injunction requested here. United v. IAM does not support

defendants' position, and they cited to no case that does.

     For those reasons, the court concludes that a union has a

duty to take every reasonable effort to stop its members'




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unlawful concerted activity, even if they have not participated

in, authorized, or ratified it.

Legal Issue No. 5 ("Whether Plaintiff is required to demonstrate
that injunctive relief is the only practical and effective means
of enforcing the Defendants' obligations under Section 2. First
of the RLA?") :

     The Supreme Court has made it clear that a court may only

enjoin a defendant's violation of Section 2, First of the RLA if

an injunction •is the only practical, effective means of

enforcing the duty to exert every reasonable effort to make and

maintain agreements." Chicago & N.W. Ry. Co. v. United Transp,

Union, 402 U.S. 570, 583 (1971). In its brief, plaintiff did not

appear to raise a meaningful disagreement with that rule, but

rather argued that its failure to discipline individual employees

or engage in arbitration should not bar the injunction it

requested. See doc. 91 at 7-8. That is not the question presented

to the court, and the court will not resolve it here. Plaintiff

may well argue that such discipline or arbitration is not a

practical and effective means of enforcing defendants' duty, but

it must meet the above-cited standard.



     SIGNED   July~,      2019.




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